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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


MARCUS EDWARDS,                    )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           3:13cv871-MHT
                                   )                (WO)
SHERIFF JIMMY ABBETT               )
(in his individual                 )
capacity), et al.,                 )
                                   )
     Defendants.                   )

                                ORDER

    In accordance with the opinion entered today, it is

the ORDER, JUDGMENT, and DECREE of the court that:

    (1) Defendants Jimmy Abbett, Blake Jennings, and

Cathy Dubose's motion to dismiss (doc. no. 45) is granted

as to all of plaintiff Marcus Edwards’s claims except his

leg injury claim.

    (2) All of plaintiff Edwards’s claims except his leg

injury claim are dismissed.

    (3) This case will proceed as to plaintiff Edwards's

leg injury claim.
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This case is not closed.

DONE, this the 2nd day of November, 2020.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
